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   FAX: 702.366.1940
 4
   Attorney for Paul Engstrom
 5

 6
                                  UNITED STATES DISTRICT COURT
 7
                                         DISTRICT OF NEVADA
 8

 9
     UNITED STATES OF AMERICA,                         CASE NO. 2:15-cr-00255-JAD-PAL
10
                   Plaintiff,                          MOTION TO EXTEND MOTIONS’
11                                                     DEADLINE
            vs.
12
     PAUL ENGSTROM,
13
                   Defendant.
14

15
            Defendant, Paul Engstrom, by his attorney of record, Kathleen Bliss, respectfully requests
16
     that the Court enter an order allowing him a one-week extension of the motions’ deadline herein.
17

18 A proposed order is submitted herewith.

19          In support of his motion, defendant shows the court as follows:

20          1.     On this date, counsel for defendant requested a one-week extension from counsel
21
                   for the United States. Counsel had conferred previously about the existence of
22
                   additional discovery, and counsel for the government stated that an extension for
23
                   filing motions would not be opposed. Defendant’s counsel still believes that the
24
                   government does not oppose a one-week extension.
25

26          2.     On this date, December 15, 2015, the deadline for motions, defendant’s counsel

27                 requested a one-week extension as no additional discovery had been provided to

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     Case
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 1               date. The requested discovery concerns events on which the warrantless search of

 2               defendant’s vehicle occurred, so the discovery impacts any motions filed by
 3
                 defendant. The government advised defendant’s counsel that recently the requested
 4
                 discovery had been obtained by the government. Defendant’s counsel should
 5
                 obtain the discovery, consisting of several discs, on December 16, 2015, but cannot
 6
                 review it until later in the week.
 7

 8         3.    Defendant’s counsel thus needs additional time to review the additional discovery,

 9               which may affect the extent and scope of any motions filed. Defendant would be
10               seriously prejudiced if not allowed to file motions, and he bears no fault in this
11
                 delay. As such, this request for a one-week extension is reasonable and not for the
12
                 purpose of any delay.
13
           4.    Defendant’s counsel provided the government with a proposed stipulation on this
14

15               date but had not heard back from the government by close of business.

16         5.    Counsel for the defendant further shows the court that counsel was retained on

17               November 4, 2015 and a stipulation to extend motion and trial dates was granted by
18               the Court on November 5, 2015. The Court set the motions deadline for December
19
                 15, 2015.
20
     ///
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     ///
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     Case
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 1         6.    Counsel for the defendant does not anticipate that a one-week extension will affect

 2               the trial date in this case, which is scheduled on February 9, 2016.
 3
           7.    As such the schedule would be as follows:
 4
                 Motions deadline: December 22, 2015; Responses: January 5, 2016; Replies:
 5
                 January 12, 2016.
 6

 7

 8               DATED this 15th day of December, 2015.

 9                                             /S/ Kathleen Bliss __________________
                                               Kathleen Bliss, Esq.
10                                             Kathleen Bliss Law Group, PLLC
                                               The Federal Defenders Law Group, LLC
11
                                               Nevada Bar #7606
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 1                              UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEVADA
 2

 3    UNITED STATES OF AMERICA,                       CASE NO. 2:15-cr-00255-JAD-PAL
 4                 Plaintiff,                            ORDER ON DEFENDANT’S MOTION
 5                                                       TO EXTEND MOTIONS’ DEADLINE
            vs.
 6    PAUL ENGSTROM,
 7                 Defendant.
                    .
 8

 9

10

11         The Court, having before it defendant Paul Engstrom’s motion to extend motions’ deadline

12 finds good cause to grant defendant’s motion. Good cause appearing therefore, the Court FINDS

13 that:

14
           1.     On December 15, 2015, the United States notified counsel for defendant of
15
                  additional discovery recently obtained by the United States. Defendant’s counsel
16
                  should receive the discovery, consisting of several discs, on December 16, 2015.
17

18         2.     Defendant’s counsel needs additional time to review the additional discovery,

19                which may affect the filing of motions.

20         3.     Counsel for the defendant was retained on November 4, 2015 and a stipulation to
21
                  extend motion and trial dates was granted by the Court on November 5, 2015. The
22
                  Court set the motions deadline for December 15, 2015.
23
           4.     The Court finds that a one-week extension will not affect the trial date in this case,
24
                  which is scheduled on February 9, 2016.
25

26         IT IS HEREBY ORDERED:

27         1.     Motions shall be filed on or by December 22, 2015
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                                                     4
     Case
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 1               Responses shall be filed on or by January 5, 2016

 2               Replies shall be filed on or by January 12, 2016.
 3

 4
           DATED this 16th day of December, 2015.
 5

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                                                  ________________________________
 7
                                                 UNITED STATES MAGISTRATE JUDGE
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     Case
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 1                                 CERTIFICATE OF SERVICE

 2          In accordance with Rule 49(c) of the Federal Rules of Criminal Procedure, I certify that I
 3
     am an employee of THE FEDERAL DEFENDERS LAW GROUP, LLC, and that on this 15th day
 4
     of December, 2015, I did cause a true and correct copy of:
 5
                            MOTION TO EXTEND MOTIONS’ DEADLINE
 6
     To be served electronically to the parties of record through electronic mail:
 7

 8

 9                                             By: /s/ Krystle Platero_____
10                                             An employee of
                                               THE FEDERAL DEFENDERS LAW GROUP, PLLC
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